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UNITED STATES COURT OF INTERNATIONAL TRADE                                            FORM 1

 EN Corporation

                                   Plaintiff,                      S U M M O N S 21-00098
           v.

 UNITED STATES,
                                   Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        /s/ Mario Toscano
                                                       Clerk of the Court


                                                  PROTEST
 Port of                                                Date Protest 12/23/19 & 5/12/20, respectively
            Port of Houston (Port 5301)
 Entry:                                                 Filed:
 Protest 530119101673; 530120103982, respectively       Date Protest 9/9/2020, both
 Number:                                                Denied:
 Importer: EN Corporation (122704-08604)

 Category of Steel nipple
 Merchandise:


                            ENTRIES INVOLVED IN ABOVE PROTEST
      Entry              Date of            Date of         Entry             Date of            Date of
     Number               Entry           Liquidation      Number              Entry           Liquidation
      0076959            9/28/18            6/28/19        0880519            12/22/18           11/15/19

                                                         Rest attached




                                                        Peter Koenig
Port Director,
                                                        SQUIRE PATTON BOGGS (US) LLP
7141 Office City Drive                                  2550 M Street, NW
Houston, TX 77087                                       Washington, DC 20037
                                                        peter.koenig@squirepb.com
Address of Customs Port in                              (202) 457-6000
Which Protest was Denied
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                            CONTESTED ADMINISTRATIVE DECISION

                                      Appraised Value of Merchandise
                                            Statutory Basis                             Statement of Value

 Appraised:




 Protest Claim:



                                        Classification, Rate or Amount
                                            Assessed                                       Protest Claim
                         Paragraph or                                         Paragraph or
    Merchandise          Item Number                          Rate            Item Number                    Rate




                                             Other
 State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:



 The issue which was common to all such denied protests:
  Whether protest was timely; whether was substantial transformation in Philippines for GSP qualification.



Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                               /s/ Peter Koenig
                                              ______________________________________________
                                                                 Signature of Plaintiff's Attorney
                                               3/8/2021
                                              __________________________________________________________
                                                                   Date
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         5301                              SCHEDULE OF PROTESTS
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation
530120103982             05/12/2020      09/09/2020      0080762           12/24/2018         11/15/2019
530120103982             05/12/2020      09/09/2020      0081077           01/08/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0081080           01/08/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0080626           02/11/2019         02/07/2019
530120103982             05/12/2020      09/09/2020      0082332           02/24/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0081322           03/14/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0081541           03/16/2019         03/13/2020
530120103982             05/12/2020      09/09/2020      0081785           03/16/2019         03/13/2020
530120103982             05/12/2020      09/09/2020      0082053           03/20/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0082239           03/31/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0082676           03/15/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0082925           04/30/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0083435           05/15/2019         11/15/2019
530120103982             05/12/2020      09/09/2020      0084243           05/07/2019         11/15/2015
530120103982             05/12/2020      09/09/2020      0085311           06/13/2019         11/15/2019




 Port Director of Customs,
                                                             If the port of entry shown
  7141 Office City Drive                                     above is different from the
  Houston, TX 77087
                                                             port of entry shown on the
                                                             first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
